      Case 1:21-cv-00072 Document 24 Filed on 11/05/21 in TXSD Page 1 of 2
                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                              UNITED STATES DISTRICT COURT                                November 05, 2021
                               SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                  BROWNSVILLE DIVISION

JONATHON REY CHAVEZ,                               §
                                                   §
        Plaintiff,                                 §
                                                   §
VS.                                                §   CIVIL ACTION NO. 1:21-CV-072
                                                   §
BOBBY LUMPKIN,                                     §
                                                   §
        Respondent.                                §

               ORDER ADOPTING REPORT AND RECOMMENDATION

       In May 2021, Petitioner Jonathan Rey Chavez filed a petition for a writ of habeas corpus

by a person in state custody, pursuant to 28 U.S.C. § 2254. (Petition for Writ, Doc. 1) Chavez

petitions the Court for a writ of habeas corpus on seven grounds: (1) he received ineffective

assistance of counsel; (2) his aunt was the real accessory after-the-fact; (3) the evidence was

insufficient to convict him; (4) he is actually innocent of the crime; (5) counsel failed to investigate

the case; (6) the District Attorney committed a Brady violation; and (7) he was denied a jury trial.

(Id. at 6–9)

       Respondent filed a Motion for Summary Judgment, arguing, among other things, that

Chavez’s petition was barred by the statute of limitations under the Anti-Terrorism and Effective

Death Penalty Act. (MSJ, Doc. 16, 6) A United States Magistrate Judge recommended that the

Petition be dismissed as untimely filed, or, alternatively, denied as meritless. (R&R, Doc. 17) After

Respondent objected to the calculation of the statute of limitations in the Report and

Recommendation (Objections, Doc. 19), the Magistrate Judge issued an Amended Report and

Recommendation, effectively adopting the Respondent’s calculation of the limitations period, and

maintaining the same recommendation as within the initial Report and Recommendation.

(Amended R&R, Doc. 21) The Amended Report and Recommendation rendered moot the

Respondent’s objections to the initial Report and Recommendation.

1/2
      Case 1:21-cv-00072 Document 24 Filed on 11/05/21 in TXSD Page 2 of 2



       No party filed objections to the Amended Report and Recommendation. The Court finds

no plain error in the Amended Report and Recommendation.

       As a result, it is:

       ORDERED that the Amended Report and Recommendation (Doc. 21) is ADOPTED;

       ORDERED that Respondent’s Motion for Summary Judgment (Doc. 16) is GRANTED;

and

       ORDERED that Petitioner Jonathan Rey Chavez’s Petition for a Writ of Habeas Corpus

by a Person in State Custody (Doc. 1) is DISMISSED as untimely filed, or alternatively, DENIED

as meritless.

       The Clerk of Court is directed to close this matter.

       Signed on November 5, 2021.


                                                     ____________________________
                                                     Fernando Rodriguez, Jr.
                                                     United States District Judge




2/2
